Case 8:10-cr-00550-VMC-TGW Document 1318 Filed 06/13/14 Page 1 of 2 PageID 17998




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

       UNITED STATES OF AMERICA

       v.                                 Case No. 8:10-cr-550-T-17MAP

       RICHARD J. BOBKA


              FINAL JUDGMENT OF FORFEITURE FOR SUBSTITUTE ASSETS

              THIS CAUSE comes before the Court upon the United States’ Motion for a

       Final Judgment of Forfeiture, pursuant to 21 U.S.C. § 853(n)(7) and Fed. R. Crim.

       P. 32.2(c)(2), for eight silver bars, as additional substitute assets in partial

       satisfaction of the defendant’s $13,563,413.00 forfeiture money judgment.

              On March 21, 2014, the Court entered a Preliminary Order of Forfeiture for

       Substitute Assets, forfeiting to the United States all right, title, and interest in the

       silver bars.   Doc. 1303.

              The Court finds that, in accordance with 21 U.S.C. § 853(n) and Rule

       32.2(b)(6)(C), the United States published notice of the forfeiture and of its intent to

       dispose of the silver bars on the official government website, www.forfeiture.gov.

       from March 22, 2014 through April 20, 2014.         Doc. 1306.    The publication gave

       notice to all third parties with a legal interest in the silver bars to file with the Office

       of the Clerk, United States District Court, Middle District of Florida, Sam Gibbons

       Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602,

       a petition to adjudicate their interests within 60 days of the first date of publication.

              The Court further finds that no person or entity, other than the defendant
Case 8:10-cr-00550-VMC-TGW Document 1318 Filed 06/13/14 Page 2 of 2 PageID 17999




  Bobka, whose interest was forfeited to the United States in the Preliminary Order of

  Forfeiture, and Valeria Correa, who received notice, but failed to file a claim, is known to

  have an interest in the silver bars. No third party has filed a petition or claimed an interest in

  the silver bars, and the time for filing a petition has expired. Accordingly, it is hereby

         ORDERED, ADJUDGED, and DECREED that for good cause shown, the United

  States’ motion is GRANTED.

         It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. § 853(n)(7)

  and Fed. R. Crim. P. 32.2(c)(2), all right, title and interest in the silver bars are

  CONDEMNED and FORFEITED to the United States for disposition according to law.

         Clear title to the silver bars is now vested in the United States of America.

         DONE and ORDERED in Tampa, Florida, this 13th day of June, 2014.




  Copies to: Natalie Hirt Adams, AUSA
  Counsel of Record
